                      Case 4:14-cr-00232-DPM                   Document 810              Filed 02/22/16          Page 1 of 5
                                                                                                                          FILED
                                                                                                                       U.S. DISTRICT COURT
AO 245B (Rev. 10/15) Judgment ma Criminal Case                                                                     EASTERN DISTRICT ARKA.NSAS
                     Sheet 1



                                         UNITED STATES DISTRICT COUEJl'MES
                                                           Eastern District of Arkansas                       By:_-bL-l,l-+J--1+--~~~R~K
                                                                          )
               UNITED STATES OF AMERICA                                   )       JUDGMENT IN A CRIMINAL CASE
                                 v.                                       )
                           Christy Ramsey                                 )
                                                                                  Case Number: 4:14-cr-232-DPM-31
                                                                          )
                                                                          )       USM Number: 29002-009
                                                                          )
                                                                          )        Andrew Vess
                                                                          )       Defendant· s Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)        71 of the Superseding Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended
 21 u.s.c. § 843(b)               Using a Communication Facility to Facilitate Committing a

                                  Drug Offense, a Class E Felony                                               9/6/2014                   71



       The defendant is sentenced as provided in pages 2 through         __5 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      1 & 70                                D is      Ill are dismissed on the motion of the United States.
               -------------

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                          2/19/2016
                                                                         Date oflmpos1t10n of Judgment




                                                                          D.P. Marshall Jr.                         United States District Judge
                                                                         Name and Title of Judge




                                                                         Date                             I
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 4--Probation
                                                                                                              Judgment-Page            of
 DEFENDANT: Christy Ramsey
 CASE NUMBER: 4:14-cr-232-DPM-31
                                                                    PROBATION
 The defendant is hereby sentenced to probation for a term of:

 3 years.




 The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall suom1t to one drug test within 15 days of placement on probation and at least two periodic drug tests
 thereafter, as determined by the court.
 D          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
 .zl        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

 Ill        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapphcable.)

 D          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
 D          The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
        If this jud~eJ?.t imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this Judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)        the defendant shall support his or her dependents and meet other family responsibilities;
   5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
   6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
  10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observeo in plain view of the probation officer;
  11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
  13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
             record or Rersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 4C - Probation
                                                                                         Judgment-Page -~3_ of         5
DEFENDANT: Christy Ramsey
CASE NUMBER: 4:14-cr-232-DPM-31

                                          SPECIAL CONDITIONS OF SUPERVISION
  S1) Ramsey must participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
  program, which must include regular and random drug testing, and may include outpatient counseling, residential
  treatment, or both. Ramsey must refrain from excessive use of alcohol throughout the course of probation.

  S2) Ramsey must perform 150 hours of community service, at least 50 hours per year until completed.
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AO 245B (Rev. 10/15) Judgment ma Cnminal Case
         Sheet 5 - Cnminal Monetary Penalties
                                                                                                   Judgment -   Page           of         5
 DEFENDANT: Christy Ramsey
 CASE NUMBER: 4:14-cr-232-DPM-31
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                                                            Restitution
 TOTALS            $ 100.00                                        $                                   $    0.00



 D The determination ofrestitution is deferred until - - - -. An Amended Judgment in a Criminal Case (AO 245CJ will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned P.ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

  Name of Payee                                                          Total Loss*          Restitution Ordered Priority or Percentage




 TOTALS


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the       D fine       D restitution.
       D the interest requirement for the        D fine     D restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and l l 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 6 - Schedule of Payments

                                                                                                                 Judgment - Page              of
 DEFENDANT: Christy Ramsey
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                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     IZ'.I   Lump sum payment of$ -100.00
                                      ------
                                             due immediately, balance due

               D    not later than                                     , or
               ~    in accordance         D    C,     D    D,     D     E, or     l;ll F below; or
 B     D       Payment to begin immediately (may be combined with               oc,         DD, or        D F below); or

 C     D       Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                             (e.g.. months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     D       Payment in equal                        (e.g.. weekly. monthly. quarterly) installments of $                          over a period of
                             (e.g., months or years), to commence                        (e.g.. 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E     D       Payment during the term of supervised release will commence within                 (e.g.. 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     IZ'.I   Special instructions regarding the payment of criminal monetary penalties:
                If Ramsey can't pay the special assessment immediately, then she must pay 1O percent of her gross monthly
                income until the assessment is paid in full.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monet~ penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
